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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

  WILLIAM HEATH HORNADY, et al.,           )
                                           )
                Plaintiffs,                ) CASE NO. 1:18-cv-00317-JB-N
                                           )
  v.                                       )
                                           )
  OUTOKUMPU STAINLESS USA, LLC             )
                                           )
                Defendant.                 )



   MOTION TO RECONSIDER AND CLARIFY THE COURT’S NOVEMBER 18, 2021
     AND FEBRUARY 17, 2022 ORDERS AND TO SET ASIDE DEFAULT AND
                INCORPORATED MEMORANDUM OF LAW




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           Under Federal Rules of Civil Procedure 54(b) and 55(c), Defendant Outokumpu Stainless

 USA, LLC (“OTK”) moves the Court to reconsider and clarify its November 18, 2021 and

 February 17, 2022 Orders (Docs. 344 & 351) and to vacate the entry of default as to the question

 of liability and the striking of OTK’s Answer (Doc. 228) to the Third Amended Complaint (Doc.

 223).1 In support of this Motion, OTK shows as follows:

                                    I. Facts and Procedural History

           A.     Introduction

           Since the Court entered its November 18, 2021 Order, OTK has been rendered literally

 defenseless to Plaintiffs’ claims and has been left exposed to claims for catastrophic amounts of

 damages. OTK and its current counsel are acutely aware of the Court’s concerns as reflected in

 the November 18, 2021 Order, and it is with this in mind that OTK respectfully submits the

 following arguments and authorities asking the Court to reconsider and clarify both its November

 18, 2021 Order and the “additional guidance” the Court provided via its February 17, 2022 Order.

           As a result of how Plaintiffs have positioned this case, the Court’s Orders do not accurately

 reflect (1) the facts that Plaintiffs now know were established through discovery; (2) Plaintiffs’


           1
           The Court left undecided the amount of damages to award to Plaintiffs, so the Court’s
 Order was not a final judgment. See 15A Wright & Miller, Federal Practice & Procedure,
 Jurisdiction § 3914.5 (“Entry of default also is not final, since it simply sets the stage for the further
 proceedings required to enter the judgment. … To be final, entry of a default judgment must not
 only determine liability but determine relief as well.”). Further, at Court’s hearing on December
 15, 2021, OTK informed the Court and Plaintiffs’ counsel of OTK’s intent to seek reconsideration
 of the Court’s November 18, 2021 Order. The parties originally discussed a briefing schedule
 based on a January 1, 2022 filing deadline, but the Court’s December 17, 2021 provides: “The
 January 1, 2022, deadline discussed at the hearing for the filing of motions to reconsider the
 November 18, 2021 [Order], is suspended…. [T]he Court will enter a supplemental Order to
 attempt to further clarify for Defendant the scope and consequence of the default sanction entered
 against it. The parties will have twenty-one (21) days after the entry of that order to file any
 motions for reconsideration.” (Doc. 346 at PageID #4726.) OTK considers the Court’s February
 17, 2022 Order to be the “supplemental Order” and is now filing the present Motion within 21
 days of entry of that Order.



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 own factual allegations in the Third Amended Complaint (Doc. 223); or even (3) OTK’s own

 efforts in responding to discovery. The Courts’ Orders further fail to consider OTK’s clean hands

 in relation to what the Court has found to be a mishandling of the ADP subpoena by OTK’s former

 counsel operating under a conflict of interest.

           OTK does not dispute that its previous counsel made false statements to the Court and that

 such conduct, in and of itself, is grave matter. But the Court has imposed the “death penalty”

 sanction of striking OTK’s Answer, and the Court then goes beyond this already draconian

 sanction by making factual findings that cannot be supported by either (1) the factual allegations

 in the Third Amended Complaint or (2) the actual record evidence established through the

 discovery process and known to Plaintiff’s counsel. Therefore, OTK asks the Court to reconsider

 and clarify its November 18, 2021 and February 17, 2022 Orders and to vacate the default entered

 against OTK accordingly.

           Notably, OTK and its management personnel, in particular, Melissa Pledger and Dave

 Scheid, have not had an opportunity to state what actually transpired concerning discovery in this

 case. Instead, they have been at the mercy of allegations by Plaintiffs’ counsel and ADP, with

 OTK’s prior counsel (Littler Mendelson or “Littler”) never adequately responding to those

 allegations. Littler’s actions left OTK “in the dark” and undefended, which prejudiced the Court’s

 findings, insofar as the Court heard only one side of the story.

           The result is a failure of the adversarial process. If the Court’s Orders stand, OTK’s

 employees risk losing beneficial pay policies—paid lunch breaks, incentive bonuses, night-shift

 premiums, vacation overtime pay, extra pay for holiday work, “step up” time, and more—because

 those policies could be rendered unworkable under Plaintiffs’ complex and convoluted

 interpretations of the FLSA. One risk of the Court’s default is that OTK cannot defend its pay




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 practices and therefore cannot reasonably maintain them in the future. The result could be the loss

 of OTK’s ability to continue pay practices that result in wages (and more overtime pay) for its

 hourly manufacturing employees already much higher than anything the FLSA requires. Such a

 result would be contrary to the purposes of the FLSA. After hearing OTK’s side of the story (from

 non-conflicted counsel), OTK respectfully submits that the Court should reconsider its Orders and

 vacate the default it entered based on Littler’s conflicted conduct.

           B.     Procedural background

           This case commenced in July 2018, first as individual action by three named Plaintiffs but

 later as a putative collective action under the FLSA. (See Docs. 1 & 16.) Discovery began in April

 2019. (See Doc. 91.) In May 2019, the Court conditionally certified this matter as a collective

 action under the FLSA. (See Doc. 93.) The opt-in period ended in September 2019, but OTK

 accepted consents filed as late as January 2020. (See Doc. 173.) The Court’s Order states that “the

 number is somewhat in dispute” (Doc. 344 at PageID # 4638), but the Court’s record now shows

 that 276 individuals are currently part of this collective action. (See Doc. 363 at PageID #5626;

 see also Docs. 347 & 364 (withdrawals for Robert C. Davis & Brian S. Smith).)

           The Court states that it counts five motions to compel discovery and two motions for

 sanctions by Plaintiffs. (Doc. 344 at PageID # 4632.) Plaintiffs filed their “Motion for Sanctions

 and/or Related Motion to Compel” (see Doc. 216) in June 2020, after approximately 13 months of

 discovery, and later purported to “renew” this same Motion in September 2020 a week before the

 close of discovery. (See Docs. 201 & 238.) The Court has further identified 12 Orders requiring

 OTK to produce information purportedly not produced (at least not in full) before the close of

 discovery. (See Doc. 344 at PageID # 4633.)




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           C.     OTK’s good faith in the discovery process

           Plaintiffs’ counsel has been able to create the illusion that OTK’s pay policies and records

 are in disarray because Littler failed to adequately respond to those allegations. The ideas promoted

 by Plaintiffs’ counsel—such as that the “workweek” must correspond exactly to what is listed on

 a “Earnings Statement” and that every “day” and every “week” must start at midnight—are false

 and are incorrect as a matter of law. Similarly false and incorrect as a matter of law is the fiction

 that OTK paid its employees their monthly production incentive as “lump sum” numbers that

 somehow failed to consider employees’ overtime earnings. The Court only accepted the disastrous

 picture painted by the Plaintiffs’ counsel following a lack of a substantive rebuttal by Littler.

           OTK provides herewith declarations from Melissa Pledger and Dave Scheid, together with

 supporting documents, that establish that OTK diligently attempted to comply with Plaintiffs’

 counsel’s endless requests for discovery in this case, producing pay records beyond those normally

 required in collective actions with representative discovery. 2 These declarations and the supporting

 documentation establish that pay and time records were, in fact, produced during discovery. At the

 end of the day, the primary “failing” was OTK’s inability to meet the Plaintiffs unrebutted demands

 for documentation of adjustment to what ADP calls the “RROP” in Excel format, a commodity

 that OTK had no ability to provide. (See Ex. G, Pledger Decl. ¶¶ 37-38.) And, for that matter,

 Plaintiffs have now figured out how to address the “pay rates” as part of their damage calculations.

 (Doc. 362 at PageID #5594.)




           2
          Soon after the Court had announced its intent to enter a default as to liability and OTK
 retained non-conflicted counsel, OTK sought leave to submit a brief on the sanctions issues. (See
 Doc. 328.) The Court denied OTK’s request (see Doc. 329), meaning that OTK’s side of the story
 (when represented by non-conflicted counsel) was never been heard before the Court entered its
 November 18, 2021 Order (Doc. 344).



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           While OTK freely admits that it is required to keep accurate records of pay, it is not

 required maintain or produce them in a non-native format preferred by Plaintiffs’ counsel for easy

 use by him. Plaintiffs were never entitled to insist on this documentation only in Excel.

 Nevertheless, the declarations of Pledger and Scheid and the supporting documentation provided

 therewith demonstrate that OTK made every possible effort to obtain Excel spreadsheets from

 ADP. (See Ex. G, Pledger Decl. ¶¶ 17-40; Ex. H, Scheid Decl. ¶¶ 21-26.)

           As ADP points out, Littler had a conflict of interest favoring ADP. (Doc. 300 at PageID

 #3793) Thus, Littler never put in this Court’s record an explanation of OTK’s efforts to obtain the

 Excel documents from ADP. Putting this in the record would have required contradicting ADP’s

 court filings and crossing ADP. Further, OTK’s conflicted counsel at Littler never even responded

 to ADP’s briefing (see Doc. 317 at PageID # 4066 (noting the OTK never opposed ADP’s motion

 for attorneys’ fees)) and never pointed out to this Court that ADP had consistently taken the

 position that it could not provide the documents requested in Excel until it dramatically changed

 positions on the proverbial courthouse steps in March 2021. Only when ADP itself got non-Littler

 lawyers involved and was on the verge of being sanctioned itself did it find a way to offer up the

 requested documents in Excel.

           Throughout all this, no one ever meaningfully defended OTK. Moreover, OTK was

 effectively kept “in the dark” as to what was actually occurring in this Court. Littler did not timely

 provide OTK with copies of ADP’s court filings clearly addressing what ADP perceived as a

 conflict of interest and did not otherwise bring ADP’s conflict arguments to OTK’s attention. (See

 Ex. G, Scheid Decl. ¶ 34.) The record reflects that ADP alleged serious improprieties in the

 handling of the ADP subpoena, owing to a conflict of interest by Littler and Littler’s unwillingness

 to cross ADP. (See Doc. 300 at PageID #3793.) If OTK had been informed of the conflict of




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 interest, OTK would have terminated its conflicted counsel sooner, and the Court may not have

 needed to enter any further sanctions.

                                          II. Legal Standards

           Under Rule 54(b), district courts retain discretion to revisit any of their interlocutory

 decisions. See Fed. R. Civ. P. 54(b). The Eleventh Circuit does not appear to have issued a binding

 decision delineating the bounds of when a district court may exercise that discretion. But others

 have held that a district court’s power to revisit an interlocutory decision is plenary—it is “free to

 ‘reconsider and reverse its decision for any reason it deems sufficient, even in the absence of new

 evidence or an intervening change in or clarification of the substantive law.’” Zarnow v. City of

 Wichita Falls, Tex., 614 F.3d 161, 171 (5th Cir. 2010) (quoting Lavespere v. Niagara Mach. &

 Tool Works, Inc., 910 F.2d 167, 185 (5th Cir. 1990)); cf. also Home Design Servs., Inc. v. Turner

 Heritage Homes Inc., 825 F.3d 1314, 1327 (11th Cir. 2016) (“[T]he district court’s change of heart

 between summary judgment and judgment as a matter of law is equally irrelevant. A ‘prior denial

 of summary judgment does not rule out the possibility of a subsequent directed verdict.’” (quoting

 Gross v. S. Ry. Co., 446 F.2d 1057, 1060 (5th Cir. 1971)). At minimum, a district court may do so

 for the same reasons it could grant relief under Rules 59 or 60(b). See QBE Ins. Corp. v. Whispering

 Pines Cemetery, LLC, No. CIV.A. 12-0054-KD-C, 2014 WL 2921908, at *3 (S.D. Ala. June 27,

 2014). Thus, that includes at least clear error, manifest injustice, or “any other reason that justifies

 relief.” Fed. R. Civ. P. 60(b)(6).

           Under Rule 55(c), “the court may set aside an entry of default for good cause.” Fed. R. Civ.

 P. 55(c). “The Eleventh Circuit has explained that, in this context, ‘“good cause” is not susceptible

 to a precise formula.’” Byrd v. City of Selma, No. CV 21-0190-WS-B, 2021 WL 2870616, at *1

 (S.D. Ala. July 8, 2021) (quoting Perez v. Wells Fargo N.A., 774 F.3d 1329, 1337 n.7 (11th Cir.

 2014)). The “good cause” standard is “a ‘mutable’ standard that is intended to be ‘liberal’ but not


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 ‘devoid of substance.’” Rodriguez v. Powell, 853 F. App’x 613, 615 (11th Cir. 2021) (quoting

 Compania Interamericana Exp.-Imp., S.A. v. Compania Dominicana de Aviacion, 88 F.3d 948,

 951 (11th Cir. 1996)). Relevant considerations include whether the default was the result of

 culpable or willful conduct, prejudice to the adverse party, the existence of a meritorious defense,

 and the strong policy in favor of determining cases on their merits. See Rodriguez, 853 F. App’x

 at 615-16. Taken together, “the defaulting party … must offer a ‘satisfactory reason’ to set aside

 the default.” Id. at 616.

                                             III. Argument

           A.     A default on liability does not permit the Court to find facts not alleged in the
                  Third Amended Complaint and does not permit the Court to accept legal
                  conclusions as true and to find “facts” inconsistent with the underlying
                  pleadings and record.

           “Federal law . . . requires a judicial determination of damages absent a factual basis in the

 record.” Anheuser Busch, Inc. v. Philpot, 317 F.3d 1264, 1266 (11th Cir. 2003). “Although a

 defaulted defendant admits well-pleaded allegations of liability, allegations related to the amount

 of damages are not admitted by virtue of default. Rather, the Court determines the amount and

 character of damages to be awarded.” Miller v. Paradise of Port Richey, Inc., 75 F. Supp. 2d 1342

 (M.D. Fla. 1999). “A court has an obligation to assure that there is a legitimate basis for any

 damage award it enters.” Anheuser Busch, Inc., 317 F.3d at 1266. “[A] court may award damages

 ‘as long as the record contains evidence allowing the court to ascertain damages from

 ‘mathematical calculations’ and ‘detailed affidavits.’” Pastrana v. Level Up Fitness, LLC, No. 21-

 CV-21985, 2021 WL 5631776, at *3 (S.D. Fla. Dec. 1, 2021).

           In pertinent part, the FLSA provides that a covered employer shall not:

           Employ any of his employees who in any workweek is engaged in commerce or in
           the production of goods for commerce ... for a workweek longer than forty hours
           unless such employee receives compensation for his employment in excess of the



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            hours above specified at a rate not less than one and one-half times the regular rate
            at which he is employed.

  29 U.S.C. § 207(a)(1). Accordingly, in order to state a claim for relief under the FLSA, Plaintiffs

  had simply to show “(1) [they were] employed by the defendant, (2) the defendant engaged in

  interstate commerce, and (3) the defendant failed to pay [them] minimum or overtime wages.”

  Freeman v. Key Largo Volunteer Fire Dept., Inc., 494 F. App’x 940, 942 (11th Cir. 2012).

            Clearly, the element of injury—proof of actual uncompensated time worked—is a

  necessary element of Plaintiffs’ burden of proof under the FLSA. The Court cannot fill in these

  required elements for Plaintiffs and cannot go outside the record in doing so.

                   1.      OTK’s “workweek”

            Regarding Plaintiffs’ workweek allegations, the Court lacks a legitimate basis for its

  determination that OTK’s workweek should have begun at midnight on either a Sunday or a

  Monday. Objecting to the first 30 Plaintiffs’ damage calculations here, OTK previously explained:

  “Plaintiffs’ improper and arbitrary selection of a midnight start time for the workweek risks

  improperly splitting a shift worked in a single workweek into two different workweeks.” (Doc.

  363 at PageID#5636.) In overruling this objection, the Court has held that every “workweek” in

  this litigation must begin at midnight. (See Doc. 366 at PageID #5662, overruling OTK Objection

  No. 3.)

            “A default judgment has the effect of establishing as fact the plaintiff’s well-pleaded

  allegations of fact and bars the defendant from contesting those facts on appeal.” Alvarez v.

  Gregory HVAC LLC, No. 8:19-CV-1826-CEH-JSS, 2021 WL 3857560, at *4 (M.D. Fla. Aug. 30,

  2021) (quoting De Lotta v. Dezeno’s Italian Restaurant, Inc., No. 6:08-cv-2033-Orl-22KRS, 2009

  WL 4349806, at *1 (M.D. Fla. Nov. 24, 2009)). In finding liability here, this Court first had to

  determine whether the Third Amended Complaint contained sufficient well-pleaded factual



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  allegations. Here, the Third Amended Complaint does not ever allege that OTK’s workweek

  should have started at midnight on either a Monday or a Sunday. Thus, the Court’s determination

  that workweek must begin at midnight is not supported by the allegations of any pleading.

            Further, the Court’s February 17, 2022 Order states: “[P]rior to January 28, 2019, the

  workweek began on a Monday and ended on a Sunday, according to Defendant’s own records.

  Plaintiffs allege, in response to this action, Defendant changed the payroll data records so that the

  workweek began on Sunday and ended on Saturday.” (Doc. 351 at PageID ##4746–4747 (citations

  omitted).) That, however, is not what the actual pay records show.

            Pledger testified that the workweek started at 6:00 am on Sunday and ended at 6:00 am the

  following Sunday and that it had been that way since at least 2015. (Ex. A, Pledger Dep. 123:1–

  19.) To the extent that Plaintiffs rely on other portions of Pledger’s Rule 30(b)(6) testimony, they

  are cherry-picking and taking her testimony out of its proper context. For example, Plaintiff

  William Heath Hornady testified that he also understood that the workweek started at 6:00 am on

  Sunday. (Ex. B, Hornady Dep. 91:11–22.) Other hourly employees agreed. (Ex. C, Stokes Dep.

  72:10-21; 75:5-13; Ex. D, Wicker Dep. 38:11-15.) OTK’s handbook and its offer letters to

  Plaintiffs also identify the workweek as running from 6:00 am Sunday to 5:59 am the following

  Sunday. (Doc. 202-2 at PageID ##2099, 2124-2133; see also Ex. H, Scheid Decl. ¶ 11.)

            Plaintiffs’ counsel—and, thus, this Court—would ignore the actual “pay-week”

  (workweek) that OTK used in calculating overtime payments and instead would blindly follow the

  dates listed on the internal “Pay Summaries” and the employees’ own “Earning Statements.” In

  this regard, in January 2019, it came to Pledger’s attention through this litigation that the workweek

  was stated incorrectly on the “Administrative View” of OTK’s ADP payroll software called

  “Workforce Now.” (Ex. G, Pledger Decl. ¶¶ 41-42, 45, 49-52; Ex. H, Scheid Decl. ¶¶ 12-15.) The




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  date was changed in the ADP software to reflect the Sunday date for the payroll that started on

  Sunday, January 27, 2019 and ended on was Saturday, February 9, 2019. (Ex. G, Pledger Decl.

  ¶ 50.) This change did not change any days or any overtime paid to the employees, because those

  calculations are made in OTK’s separate time-and-attendance software, “Enhanced Time.” (Id.,

  Pledger Decl. ¶ 51.) Both of these programs are provided by ADP. (Ex. G, Scheid Decl. ¶¶ 5-6.)

  All calculations regarding the workweek are made in “Enhanced Time.” The hours worked are

  then transferred to the payroll program, “Workforce Now,” from “Enhanced Time.” As Pledger

  testified: “The date change was on the payroll system, not the timekeeping system.” (Ex. A,

  Pledger Dep. 215:9–16, 241:17–15.)

            How this worked in practice can be seen by comparing Plaintiff Colin Hartery’s May 11,

  2018 ADP “Earnings Statement” placed in the record at Doc. 244–10 with his actual clock-in and

  clock-out data provided in Excel format by ADP as part of its March 2021 production of documents

  entitled “Time Detail – Excel Report.” The “Earnings Statement” in the record purports to shows

  that, for the two-week “pay period” ending on “05/06/2018,” OTK paid Hartery for 64 hours of

  “regular” time, 20 hours of “overtime,” and 12 hours of “shift regular” time. (Doc. 244-10 at

  PageID # 2899.) The ADP “Time Detail” reports, in turn, shows Hartery’s clock-ins and clock-

  outs as follows:

                                           First Workweek

                  Date                        In Punch                      Out Punch

   Sunday, April 22, 2018                         --                             --

   Monday, April 23, 2018                      5:30 AM                        6:01 PM

   Tuesday, April 24, 2018                     5:35 AM                        6:01 PM

   Wednesday, April 25, 2018                   5:41 PM                        6:01 AM




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                                           First Workweek

                  Date                         In Punch                        Out Punch

   Thursday, April 26, 2018                        --                              --

   Friday, April 27, 2018                      5:38 AM                          6:01 PM

   Saturday, April 28, 2018                    5:31 AM                          6:01 PM



                                          Second Workweek

                  Date                         In Punch                        Out Punch

   Sunday, April 29, 2018                      5:35 AM                          6:01 PM

   Monday, April 30, 2018                          --                              --

   Tuesday, May 1, 2018                            --                              --

   Wednesday, May 2, 2018                      5:43 AM                          6:01 PM

   Thursday, May 3, 2018                       5:42 AM                          6:01 PM

   Friday, May 4, 2018                             --                              --

   Saturday, May 5, 2018                           --                              --



  (Ex. I, Amidon-Johannson Decl. ¶ 11.)3

            For all of these days, OTK paid Hartery by “rounding” his time down as if he had punched

  both in and out at shift start and end times (i.e., either 6:00 am or 6:00 pm, depending on the

  shift)—this “rounding” is discussed in more detail the next section below.


            3
           OTK is cognizant that the Court previously set a deadline of August 5, 2020 for OTK to
  disclose any experts. (Doc. 201 at PageID #2031.) OTK is offering Amidon-Johansson’s
  declaration merely to assist the Court in understanding what OTK’s records and ADP’s records
  show.



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            After “rounding,” this means that, in the first workweek reflected in the “Earnings

  Statement” at Doc. 244-10, PageID # 2899, OTK paid Hartery for 12 hours of “regular” time on

  both Monday, April 23 and Tuesday, April 24, as if he had worked from 6:00 am to 6:00 pm each

  of those days. Then, for the night “shift” that Hartery worked starting at 6:00 pm on Wednesday,

  April 25, 2022, OTK paid him for 12 hours of “shift” time (a $0.50 premium over his “base” pay).

  That brought the total hours Hartery worked for shifts starting on April 23 through April 25 to 36

  hours (i.e., 12 + 12 + 12). The next shift he worked started at 6:00 am on Friday, April 27 and

  would bring him over 40 hours in the workweek, making him eligible for overtime. The first 4

  hours he worked on this shift were “regular” time, but he then worked 8 hours of overtime that

  shift, plus another 12 hours of overtime starting at 6:00 am on Saturday, April 28. These two days

  account for the 20 hours of “overtime” showing on his “Earnings Statement.”

            In the second workweek, he worked only 36 hours, after “rounding” down to shift start and

  end times (i.e., 12 hours on Sunday, April 29; 12 hours on Wednesday, May 2; and 12 hours on

  Thursday, May 3).

            How Hartery was paid for each of these workweeks is shown below:

                 Date                  “Regular”         “Shift Regular”       “Overtime” Hours
                                         Hours               Hours

                                            First Workweek

   Sunday, April 22, 2018                   --                   --                     --

   Monday, April 23, 2018                  12                    --                     --

   Tuesday, April 24, 2018                 12                   --                      --

   Wednesday, April 25, 2018                --                  12                      --

   Thursday, April 26, 2018                 --                   --                     --




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                 Date                 “Regular”         “Shift Regular”      “Overtime” Hours
                                        Hours               Hours

   Friday, April 27, 2018                  4                   --                      8

   Saturday, April 28, 2018                --                  --                     12

                                          Second Workweek

   Sunday, April 29, 2018                 12                   --                     --

   Monday, April 30, 2018                  --                  --                     --

   Tuesday, May 1, 2018                    --                  --                     --

   Wednesday, May 2, 2018                 12                   --                     --

   Thursday, May 3, 2018                  12                   --                     --

   Friday, May 4, 2018                     --                  --                     --

   Saturday, May 5, 2018                   --                  --                     --

   Sunday, May 6, 2018                     --                  --                     --

   Pay Period Totals:                     64                   12                     20



  (Ex. I, Amidon-Johannson Decl. ¶ 13.)

            Critically, none of this supports the Court’s findings—based on Plaintiffs’ misleading

  pleading—that “the workweek is dictated by the shift and is not a fixed, 168-hour period.” (Doc.

  344 at PageID #4643.) Pledger testified that “Pay is driven by shift start time and date,” but she

  also was clear that OTK calculates its employees’ overtime “based on a seven-day period ….” (Ex.

  A, Pledger Dep. 122:18–23; 131:13–23.) OTK’s choice to define its workweek based on the

  beginning on the first shift starting on a Sunday morning does not establish that OTK is using

  something other than a fixed 168-hour period, especially since, outside the Melt Shop, this first

  shift always starts at 6:00 am on Sunday. As Pledger testified regarding the two-week pay periods:


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  “Pay periods always started on Sunday and ended with the night shift on Saturday.” (Ex. A,

  Pledger Dep. 149:14–20 (emphasis added).) The “night shift” on Saturday carries over until

  Sunday morning, when the new pay period (and workweeks) start at 6:00 am. Pledger testified that

  “Saturday ends the pay week” and that the “pay week” ends on “Sunday morning at 6 a.m. because

  the shift started on Saturday night at 6:00 p.m.” (Id., Pledger Dep. 217:13–218:2.)

            OTK’s record references to a “pay-week” beginning at 6:00 am on Sunday and ending at

  5:59 am the following Sunday (see Doc. 202-2 at PageID ##2099, 2124–2133) are not mutually

  exclusive with Pledger’s testimony that “Pay is driven by shift start time and date.” The Court’s

  Orders risk creating an artificial “either-or” dichotomy when it is really a “both-and” situation.

  Thus, for example, the Court’s November 18, 2021 Order says, “[t]he workweek either ends at

  6:00 am on Sunday morning, or if an employee is nearing the end of a shift at that time, the

  workweek ends when the employee clocks out of the overnight Saturday shift.” (Doc. 344 at

  PageID #4643.) It will always be “nearing the end of a shift” as the clock approaches 6:00 am on

  a Sunday, and if an employee clocks out before 6:00 am, there will be no effect on the employees’

  pay. In those rare circumstance where an employee clocks out at 6:30 am, rather than 6:00 am,

  after working the 12-hour shift starting at 6:00 pm on a Saturday, the result of that would likely be

  a higher overtime payment. However one looks at OTK’s 7-day, 168-hour workweek, OTK has

  not used its workweek to underpay overtime.

                   2.     OTK’s “rounding” practices

            The Court’s February 17, 2022 Order explains, regarding OTK’s “rounding” practices:

  “According to Plaintiffs, Defendant employed two rounding policies during the time period

  covered by this suit. The first rounding policy automatically rounded employees’ clock-ins and

  outs, up and down, by thirty minutes.” (Doc. 351 at PageID # 4744.) The Court’s November 18,




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  2021 Order thereafter finds that OTK was “rounding down” by up to 30 minutes following both

  the beginning and end of each employee’s shift. (Doc. 344 at PageID # 4644.)

            However, with regard to Plaintiffs’ pleadings, the Court’s Orders were only partially

  correct. Respectfully, the Court’s Orders should be corrected and clarified accordingly.

            In paragraph 11 of the Third Amended Complaint (Doc. 223), Plaintiffs maintain that,

  before May 2018, their clock-in times could occur up to 30 minutes before the start of their shift

  and would be “rounded” down to the shift start time. Thus, a Plaintiff clocking in at 5:30 am for a

  shift starting at 6:00 am would be paid as if she had started work at 6:00 am (the shift start time)

  and not at 5:30 am (the clock-in time). Likewise, Plaintiffs themselves maintain in Third Amended

  Complaint paragraph 11 that, before May 2018, their clock-out times could occur up to 15 minutes

  after the end of their shift and would also be “rounded” down to the shift end time. Thus, a Plaintiff

  clocking out at 6:15 pm for a shift ending at 6:00 pm would be paid as if she had stopped work at

  6:00 pm (the shift end time) and not at 6:15 pm (the clock-out time).

            In other words, based on their clock-in and clock-out times, Plaintiffs could, before May

  2018, have as many as 45 minutes (0.75 hours) for which they were not paid on each shift.

  Remarkably, the Court’s November 18, 2021 Order disregards the allegations in paragraph 11 of

  the Third Amended Complaint and instead finds that clock-outs times, like the clock-in times,

  were also subject to rounding down by up to 30 minutes, such that “if an employee clocked out at

  6:30 pm, the time was rounded down to 6:00 pm.” (Doc. 344 at PageID #4644.) Neither the

  allegations in the Third Amended Complaint nor the record would support such a finding. Instead,

  when Plaintiffs’ counsel arguably tried to “trick” Pledger during her deposition into saying that

  there could be a 30-minute “rounding” after shift-end, Pledger quickly corrected him:

            Q.     And if the employee clocked out at 6:29, the system automatically rounded
            down to 6:00, correct?



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            A.      There wasn’t a 30 minute round on the punch-out. It was either a 10 or a 15
            on the clock-out.

  (Ex. A, Pledger Dep. 93:6–10.) The Court will therefore need to correct and clarify its November

  18, 2021 Order in light of the record evidence (and pleading in the Third Amended Complaint)

  establishing that the “rounding” after clock-out did not exceed 15 minutes.

            None of this was part of some coordinated and conscious effort by OTK to underpay its

  employees. Rather, one reason that OTK provided a “grace period” that allowed its employees to

  clock-in up to the 30 minutes before the start of a scheduled shift was due to the previous walking

  distance between the parking lot and the time clocks. Many employees would have to walk

  significant distances from the time clock to their respective work stations. Thereafter OTK added

  parking lots closer to where employee worked, but even so, before May 2018, there were only a

  dozen or so time clocks in the entire facility. (Ex. A, Pledger Dep. 205:22–207:8.) Plaintiff William

  Heath Hornady testified that, before 2016, the distance between the time clock and his work station

  was nine-tenths of a mile and that after 2016 the distance was more like 40, 50, or 60 yards. (Ex.

  B, Hornady Dep. 26:13–28:23.)4

            In part as a result of placing time clocks closer to the various work stations, in May 2018,

  OTK reduced the “grace period” during which employees could clock in before the start of a shift

  from 30 minutes to 7 minutes and reduced the “grace period” during which employees could clock

  after the end of a shift from 15 minutes down to 7 minutes. Thus, according to paragraph 12 of the

  Third Amended Complaint (Doc. 223), Plaintiffs maintain that, after May 2018, their clock-in

  times could occur up to 7 minutes before the start of their shift and would be “rounded” down to

  the shift start time. Plaintiffs allege that a Plaintiff clocking in at 5:53 am for shift starting at 6:00


            4
          Portions of Hornady’s testimony were previously placed in the record at Docs. 258-5 and
  263-2. A portion of the cited pages can be found at Doc. 258-5, PageID ## 3211-3212.



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  am would be paid as if she had started work at 6:00 am (the shift start time) and not at 5:53 am

  (the clock-in time). Likewise, Plaintiffs maintain that, after May 2018, their clock-out times could

  occur up to 7 minutes after the end of their shift and would also be “rounded” down to the shift

  end time. Thus, a Plaintiff clocking out at 6:07 pm for a shift ending at 6:00 pm would be paid as

  if she had stopped work at 6:00 pm (the shift end time) and not at 6:07 pm (the clock-out time).

  In other words, based on their clock-in and clock-out times, Plaintiffs allege that, after May 2018,

  they could have as many as 14 minutes (0.2333 hours) for which they were not paid on each shift.

            The Court addresses this in its February 17, 2022 Order by explaining: “During the

  pendency of this lawsuit, Defendant amended its policy to round down by seven minutes rather

  than thirty.” (Doc. 351 at PageID #4744.) Scheid testified that OTK changed to 7-minute

  “rounding” (after installing additional time clocks) following the advice of counsel. (Ex. E, Scheid

  Dep. 173:11–175:18; 236:23–237:5.)5 Moreover, since the start of the COVID-19 pandemic, OTK

  has also allowed employees to clock in using an “app” on their phones. (Ex. F, Belcher Dep. 23:15–

  21.)6

            In any event, without the Court’s default ruling, Plaintiffs cannot prove that they performed

  any work for which OTK did not pay them. For example, some lines stopped operating during

  “lunch” on each shift (usually for 30 minutes) and that no work was performed during this “lunch.”

  (Ex. C, Stokes Dep. 59:16–60:1.)7 The Court, however, has now overruled OTK’s objections to



            5
            Portions of the Scheid’s transcript were placed in the record at Doc. 187-2. A portion of
  the cited pages can be found at Doc. 187-2 at PageID ## 1417-1419.
            6
           Portions of Emily Belcher’s transcript were placed in the record at Doc. 258-3, though
  this does not appear to have included the cited pages.
            7
           Portions of Martin Stokes’s transcript were placed in the record at Docs. 258-2 and 263-
  4, though this does not appear to have included the cited lines.



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  the first 30 Plaintiffs’ damage calculations and has held that OTK cannot rely on its paid “lunch”

  in this litigation. (See Doc. 366 at PageID #5662, overruling OTK Objection No. 7.)

            How this matters can be seen in the example of Plaintiff Colin Hartery’s May 11, 2018

  ADP “Earnings Statement” placed in the record at Doc. 244-10, PageID #2899, and discussed

  above in the context of the “workweek.” This Earnings Statement was for a period just before OTK

  changed its maximum 45-minute “round” to a maximum seven-minute round in May 2018. This

  Earnings Statement shows that Hartery was paid for a total 96 hours in a two-week “pay period,

  with the 96 hours breaking down as follows: 64 “regular” hours; 12 “shift regular” hours; and 20

  “overtime” hours. (Doc. 244-10 at PageID #2899.) Or, stated differently, Hartery, in this two-week

  period, worked eight 12-hour shifts (and eight times 12 hours equal 96 hours—which further

  breaks down to seven “day” shifts and one “night” shift). However, the document ADP produced

  in Excel format as part of its March 2021 production of documents and entitled “Time Detail –

  Excel Report” shows that Hartery had “Out Punch” time every day at 6:01 (which was “pm” for

  his seven “day” shifts and “am” for his one “night” shift). (Ex. I, Amidon-Johannson Decl. ¶ 11.)

  His “In Punch” time ranges from as early as 5:30 (on Monday, April 23, 2018) to as late as 5:43

  (on Wednesday, May 2, 2018). (Id., Amidon-Johannson Decl. ¶ 11.) All of this time, however,

  was “rounding” to an even 6:00 (am or pm) in paying Hartery. If measured minute-to-minute,

  during this two-week “pay period,” Hartery was clocked in for 99.2167 hours, not the even 96

  hours OTK paid him for. But, if Hartery’s clocked-in time is considered in light of a 30-minute

  “lunch” break for each of his 12-hour shifts, this 99.2167 hours becomes 95.2167 hours. If “lunch”

  is considered, OTK actually paid Hartery for more time than he claims to have worked. (Id.,

  Amidon-Johannson Decl. ¶ 14.)




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            The Court’s default ruling and decision not to consider Plaintiffs’ paid “lunches” means

  that OTK has effectively been left “defenseless.” At a minimum, though, even with the default and

  even without considering the paid “lunch” breaks, it is respectfully submitted that the Court should

  correct clarify its Orders (Doc. 344 at PageID # 4644; Doc. 351 at PageID # 4744) to make the

  clear that maximum “round” at the end of a shift before May 2018 was 15 minutes, not 30 minutes.

                   3.     “Truing up”

            Much of the Court’s decision to enter sanctions has to do with Pledger’s testimony on the

  so-called “true up” and on Littler’s apparent decision to “scapegoat” Pledger here. (See Doc. 344

  at PageID ##4700–4702.) However, in light of the Court’s subsequent ruling on OTK’s objections

  to the first 30 Plaintiffs’ damage calculations, it seems that the “true up” will not form part of

  Plaintiffs’ damage calculations. (See Doc. 366 at PageID #5662, granting OTK Objection No. 2.)

            The fact that the “true up” does not impact damage calculations makes sense. As OTK

  foreshadowed in its November 9, 2020 Court filing (see Doc. 267 at PageID #3513), ADP’s

  document production has since revealed that no “true up” payments were paid to employees at a

  later date. Plaintiffs’ counsel now has the ADP records himself and knows this.

            The confusion on this issue arose from a miscommunication between Pledger and an ADP

  representative. Before her Rule 30(b)(6) deposition in this case, Pledger was involved in a 401(k)

  audit at OTK in which an ADP representative participated. (Ex. G, Pledger Decl. ¶ 13.) During

  that audit, the process for accounting for the “RROP” when employees received step-up pay was

  discussed. Pledger recalled that the ADP representative advise that there was a “true-up” process

  whereby ADP’s software made adjustments to the RROP. (Id., Pledger Decl. ¶ 14.) Thus, Pledger

  testified: “Our payroll system calculates a regular rate of pay the following month. Our look-back

  period is a month,” and “[I]t’s built into our payroll system that the payroll provider trues up the

  regular rate of pay, the first pay of the month for the previous month. And then it’s divided across


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  that first pay of the next month.” (Ex. A, Pledger Dep. 38:6–20.) She likewise testified: “It’s done

  the month after we true up with what’s called a regular rate of pay … is paid at the month end. So

  the first pay of the next month is when it’s paid.” (Id., Pledger Dep. 45:5–16.)

            Notwithstanding this testimony, Pledger was subsequently advised through conversations

  with ADP facilitated by Littler that adjustments to “RROP” for night shifts, step-up work and

  holidays is calculated into each workweek or pay period, not at the beginning of each month. (Ex.

  G, Pledger Decl. ¶ 15.) Further, as OTK has pointed out that, out of the first 30 Plaintiffs, only

  seven of them ever worked “step ups.” (Doc. 363 at PageID #5632.) Assuming that these first 30

  Plaintiffs are representative of the collective of 276 Plaintiffs, “step ups” are not a significant issue.

            How this works in practice can be seen in the example of Plaintiff Colin Hartery’s May 11,

  2018 ADP “Earnings Statement” placed in the record at Doc. 244-10, PageID #2899, and discussed

  above in the context of the “workweek” and “rounding.” Notably, this Earnings Statements is for

  the first paycheck of the month, so if “true ups” happened at the beginning of the month using the

  past month’s numbers, that would have been reflected here. It was not—for the simple reason that

  adjustments to “RROP” for night shifts, step-up work and holidays is calculated into each

  workweek or pay period, not at the beginning of each month.

            Like most of the Earnings Statements, there are no step-ups to consider in pay period shown

  on Hartery’s May 11, 2018 Earnings Statement. This Earning Statement lists Hartery’s “regular”

  rate as “32.3400” an hour and his “shift regular” rate as “32.8400” an hour—reflecting the $0.50

  per hour premium that OTK paid the “night” shift. However, OTK paid Hartery’s 20 “overtime”

  hours at the listed rate of “48.5415.” This “overtime” rate is neither 1.5 times his “regular” rate

  (i.e., 1.5 times $32.34 equals $48.51) nor 1.5 times his “shift regular” rate (i.e, 1.5 times $32.84

  equals $49.26). (Ex. I, Amidon-Johannson Decl. ¶ 16.) Instead, the paid rate for “overtime” of




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  $48.5415 is in between the “day” overtime rate of $48.51 and the “night” overtime rate of $49.26.

  Thus, it is the “true up” that might have explained how OTK had arrived at $48.5415 an hour for

  Hartery’s “overtime” in that pay period, but if Plaintiffs think the rates were computed incorrectly,

  they already have what they need to run any damage calculations. So, at this stage of proceedings,

  the so-called “true up” should be a non-issue.

                   4.     OTK’s “production incentive”

            The Court’s February 17, 2022 Order explains the basis for Plaintiffs’ claims here as

  follows: “Plaintiffs alleged overtime is not paid correctly either during the calendar month within

  which the metrics are gathered or on the more recent wages to which the percentage is applied. In

  sum, Plaintiffs allege the math never works out and the overtime wages earned during the bonus

  period should be recalculated.” (Doc. 351 at PageID #4753.)

            However, as OTK previously explained in objecting to the first 30 Plaintiffs’ damage

  calculations here (see Doc. 363 at PageID #5645), Plaintiffs have made no effort to “recalculate”

  the monthly bonus using the monthly percentages that OTK actually applied, nor have Plaintiffs

  shown the math “never works out” in way that led to any underpayment of overtime for any

  Plaintiff. Instead, Plaintiffs improperly seek to treat every month’s bonus as a “lump sum” payment

  and ignore OTK’s bonus percentages entirely. Plaintiffs now run computer programs in support of

  claims that, for example, use the production incentive to artificially increase Plaintiff Richard

  Ainsworth’s base hourly rate in July 2019 from $27.43 to $37.53. (See Doc. 357-1 at PageID #

  4905.)

            The fact that Plaintiffs are running these computer programs to re-calculate their hourly

  rates, in, for example, 2019, by as little as $2.04 an hour or as much as $10.10 an hour (as in the

  case of Ainsworth, discussed above) shows that Plaintiffs are not missing any documentation they

  seek regarding the production incentive. (See Doc. 363 at PageID # 5646.) Nevertheless, the


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  Court’s November 18, 2021 Order draws attention to the issue of “the incentive plan documents

  which Scheid had testified was in his email account.” (Doc. 344 at PageID # 4685.) OTK does not

  know why Littler did not produce these e-mails in Scheid’s account, but many of these e-mails

  have been produced as part of the separate FLSA litigation brought by an individual plaintiff in

  this Court and styled Bradly Gibson v. Outokumpu Stainless USA, LLC, No. 1:21-cv-00103-JB-N.

  Scheid’s e-mails were, most recently, the subject of Sur-Reply that OTK filed that that case at ECF

  No. 44. The e-mails have been produced (for the time periods at issue in Gibson’s FLSA claims).

  But, as OTK has previously argued in the present case, it is unclear why they matter. As OTK has

  already explained to this Court, the spreadsheets previously produced to Plaintiffs “indicate the

  time for the Defendant’s bonus in the title—‘Monthly.’ Further, each spreadsheet identifies

  which month the results are for and the total payout percentage for the month, which is the only

  information that affects the team members’ incentive pay/bonus.” (Doc. 181 at PageID #1143.)

            Moreover, the FLSA does not dictate the manner in which an employer awards a bonus. It

  only governs the requirement of paying overtime attributable to the bonus. OTK has decided to

  pay a production incentive based on the total wages paid each month. The bonus is calculated

  based on the percentage of both regular and overtime wages paid each month, and is paid each

  month, so every pay period is covered by the production incentive the month after the paycheck is

  issued for the pay period. As the bonus constitutes a percentage of regular and overtime pay

  received by the employee during the month, it complies squarely with 29 C.F.R. § 778.210.

            Plaintiffs’ argument essentially challenges OTK’s business decision to pay a bonus as a

  percentage of regular and overtime pay received by the employee each month instead of the time

  worked each month. However, the FLSA does not regulate OTK’s decision regarding the method

  of inclusion of pay periods within the bonus period. The FLSA requires only that, if the bonus is




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  calculated as a percentage of the employee’s pay, an equal percentage of both regular and overtime

  pay must be included in the percentage calculation. See 29 C.F.R. § 778.210.

            The cases the Court cites in its February 17, 2022 Order support OTK’s position, not

  Plaintiffs’ position. For example, the Court relies on Russell v. Gov't Emps. Ins. Co., No. 17-CV-

  672 JLS (WVG), 2018 WL 1210763, at *3-4 (S.D. Cal. Mar. 8, 2018), aff'd, 787 F. App'x 953 (9th

  Cir. 2019). (See Doc. 351 at PageID #4752.) There, the court rejected an argument similar to

  Plaintiffs’ allegations (and the Court’s determination) here by finding that the plaintiff’s “argument

  ignores the distinction between sections 778.209 and 778.210. Section 778.210 is an alternative

  to section 778.209 and Defendant need only fit under one of the two sections.” Id. “Alternatively,

  an employer can calculate overtime compensation without relying on the regular rate: § 778.210

  permits employers to satisfy FLSA’s overtime compensation requirements by calculating the

  bonus as a ‘percentage of total earnings’ by multiplying the employee’s pay by the same fixed

  percentage of both the employee’s straight-time earnings and overtime earnings.” Id., at *3.

            Here, it is not disputed that OTK calculated bonuses for Plaintiffs based on the regular and

  overtime earnings that were actually paid to the employee in the previous month. As a result, under

  Russell, section 778.210, and not 778.209, applies. Nothing in section 778.210 requires that the

  percentage bonus be included in the regular rate or apportioned over the period it is “earned”:

            In some instances the contract or plan for the payment of a bonus may also provide
            for the simultaneous payment of overtime compensation due on a bonus. For
            example, a contract made prior to the performance of services may provide for the
            payment of additional compensation in the way of a bonus at the rate of 10 percent
            of the employee’s straight-time earnings, and 10 percent of his overtime earnings.
            In such instances, of course, payments according to the contract will satisfy in full
            the overtime provisions of the Act and no recomputation will be required.

  29 C.F.R. § 778.210. Unlike section 778.209, section 778.210 does not require that the bonus be

  recalculated into the regular rate over the period it was earned. Instead, if the bonus constitutes a

  percentage of straight-time and overtime earnings from particular paychecks, it satisfies the


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  regulation. Neither Plaintiffs nor the Court have cited any authority which holds otherwise,

  contradicting the plain language of the regulation.

            The other case relied on in the Court’s February 17, 2022 Order is also inapposite.

  Barragan v. Home Depot U.S.A., Inc., No. 3:19-cv-01766, 2021 WL 3634851 (S.D. Cal. Aug. 17,

  2021), holds:

            [A]n employer is not liable for additional overtime pay when they offer
            ‘percentage-based bonuses.’ A ‘percentage-based bonus’ is one in which the
            employer will award a bonus calculated as a percentage of an employee’s total
            wages (regular pay plus overtime pay). If an employer grants a bonus to an
            employee as a percentage of total pay, the employer increased both the regular rate
            of pay and the bonus pay by the same percentage. Under a ‘percentage-based
            bonus,’ there is no need for an employer to recalculate the regular rate on which
            overtime pay must be based, because the employer has already accounted for an
            increase in overtime pay.

  (Doc. 351 at PageID #4751 (citing Barragan, 2021 WL 3634851, at *6–8).) Here, OTK’s

  production incentives meet all the requirements of “percentage-based bonuses” described by the

  Barragan court. Nowhere does Barragan state that the percentage-based bonus must cover

  totalpay over the period of which it is earned, not which it is paid. Rather, to satisfy

  section 778.210, it must simply constitute the same percentage of both regular and overtime pay

  for the same period of time. Thus, Barragan found that Home Depot did not award a “percentage-

  based bonus” under section 778.210, not because the bonus did not cover all the time in which it

  was earned, but because it was a $100 payment and not a percentage of regular and overtime pay.

  Id., at *6. A bonus cannot be “percentage-based” when it is a flat $100 payment. 8




            8
           The Barragan court makes this exact holding: “[t]he parties are in agreement that the
  bonuses that exceeded $100 were ‘percentage-based’ bonuses in which no overtime premium
  owed…. Therefore, Home Depot cannot be held liable for the bonus payments over $100 because
  they are properly calculated as a percentage of an employee’s regular and overtime earnings, in
  accordance with 29 C.F.R. § 778.210.” Barragan, 2021 WL 3634851, at *7.



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            The other cases cited by the Court do not support its conclusion that OTK’s bonus

  payments are not compliant with 29 C.F.R. § 778.210. Weninger v. General Mills Operations,

  LLC, 344 F. Supp. 3d 1005 (E.D. Wisc. 2018), addresses whether an employer may comply with

  section 778.210 when it excludes certain bonus payments from the total regular pay on which the

  percentage-based incentive is calculated. Weninger does not hold that an employer is prohibited

  under section 778.210 from calculating a percentage bonus based on the pay received in the month

  rather than the pay “earned” during the month. Weninger does not even include specifics regarding

  the pay periods covered by the employer’s semi-annual Wage Incentive Bonuses. See id. at 1008-

  09. Brock v. Two R Drilling Co., 789 F.2d 1177 (5th Cir. 1986), holds that section 778.210 applies

  to conditional as well as unconditional bonuses and remands the case for the district court to

  determine whether the bonus paid by the employer was in fact a percentage-based bonus, when

  flat payments were made under some circumstances. See id. at 1080-81 (“A conditional bonus

  ‘based on a percentage of total wages,’ no less than an unconditional one, ‘increases both straight

  time and overtime wages by the same percentage,’ which is the rationale for the percentage bonus

  rule as stated in section 778.503.”). Neither Plaintiffs nor the Court have cited any cases finding

  that a percentage-based bonus like that paid by OTK to all of the regular and overtime wages paid

  during the month does not comply with section 778.210.

            The FLSA is not a “gotcha” mechanism. Plaintiffs cannot possibly allege that they lose

  overtime pay in the long run because OTK calculates its percentage-based bonus based on the

  regular and overtime pay received by the employee during the month rather than the regular and

  overtime pay worked by the employee during the month. During some months, employees will

  receive more pay under OTK’s practices than if calculated based on the regular and overtime

  worked in the month, and some months they may receive less. The amounts should even out over




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  time. Plaintiffs seek a windfall from an employer that has paid a bonus that squarely complies with

  the language of section 778.210.

            Scheid testified that OTK received advice from counsel and concluded that OTK’s bonus

  practices were in compliance with the law. (Ex. E, Scheid Dep. 165:15–166:1.) 9 Littler’s advice

  there was consistent with the case law discussed above. Here, there is no dispute that OTK’s bonus

  was a percentage of the regular and overtime pay received in the previous month and not a flat,

  “lump sum” payment. The Court’s decision, in overruling OTK’s objection here (see Doc. 366 at

  PageID #5662, overruling OTK Objection No. 5) is inconsistent with this case law and should be

  corrected and clarified.

            B.        The Court’s discovery sanctions here ignore the collective nature of this FLSA
                      action and effectively convert this into an action with 276 individual Plaintiffs,
                      notwithstanding that Plaintiffs’ individual common-law claims should fail as
                      a matter of law.

                In FLSA collective actions, class discovery is typically conducted to a representative

  portion of the collective. Courts routinely limit discovery “to a representative sample of opt-in

  plaintiffs in FLSA actions.” Scott v. Bimbo Bakeries USA, Inc., No. CIV.A. 10-3154, 2012 WL

  6151734, at *5 (E.D. Pa. Dec. 11, 2012); accord Sandlin v. Grand Isle Shipyard, Inc., No. CV 17-

  10083, 2018 WL 2065595, at *10 (E.D. La. May 3, 2018) (“[R]epresentative discovery and

  testimony is frequently permitted in FLSA collection [sic] action[s]”); Nelson v. Am. Standard,

  Inc., No. 208-CV-390-TJW-CE, 2009 WL 4730166, at *2–3 (E.D. Tex. Dec. 4, 2009) (limiting

  discovery to named plaintiffs and randomly selected seven percent of opt-in class of FLSA party

  plaintiffs). Limiting discovery from both plaintiffs and defendant to a representative sample of the

  opt-in class is proper and preferable, and it serves the purposes of the collective-action mechanism.


            9
            Portions of Scheid’s transcript were placed in the record at Doc. 187-2. A portion of the
  cited lines can be found at Doc. 187-2, PageID 1409.



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  See, e.g., Sutton v. Diversity at Work Grp. Inc., No. 1:20-CV-00682, 2021 WL 2334488, at *3

  (S.D. Ohio June 8, 2021) (finding that numerous courts have recognized the value of “statistically

  significant” samples in representative discovery” in FLSA cases).

            On the other hand, courts typically hold that requiring full discovery production for all opt-

  in plaintiffs in a collective action class undermines the purpose and utility of collective actions.

  See, e.g., Cranney v. Carriage Servs., Inc., No. 2:07-CV-01587-RLHPAL, 2008 WL 2457912, at

  *3 (D. Nev. June 16, 2008) (authorizing discovery of 10% of opt-in plaintiffs and observing that

  to permit the “full scope of discovery authorized by the Federal Rules of Civil Procedure would

  undermine the purpose of conditionally certifying a collective action and would be unreasonably

  burdensome and wasteful of the parties’ and the court’s resources.”); see also Wellens v. Daiichi

  Sankyo Inc, No. C-13-00581-WHO (DMR), 2014 WL 7385990, at *3 (N.D. Cal. Dec. 29, 2014);

  Goodman v. Burlington Coat Factory Warehouse Corp., 292 F.R.D. 230, 234 (D.N.J. 2013). In

  this case, requiring OTK to produce all its time and pay records undermines the utility and purpose

  of a collective action. If all Plaintiffs participate fully in discovery, why is the collective action

  mechanism needed?

            Here, Plaintiffs never argued that OTK had failed to produce all time and pay documents

  for a statistically-significant representative sample at the time of the filing of their “Motion for

  Sanctions and/or Related Motion to Compel” (Doc. 216). If Plaintiffs had been running their

  damage calculations using a representative sample, the need for Excels (as opposed to the .pdf files

  OTK knew how to run in the ADP software) would not have been nearly as acute as in the case of

  Plaintiffs’ attempt to run damage calculations 276 separate times.

            The fact that this is now no longer an FLSA collective action but instead an action with

  276 individual Plaintiffs is confirmed by the Court’s February 17, 2022 Order addressing




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  Plaintiffs’ “unjust enrichment” claims at common law. (Doc. 351 at PageID ##4757–4760.) Those

  non-FLSA claims were never certified for collective treatment, and Count II of the Third Amended

  Complaint purports to bring claims on behalf of “All Plaintiffs.” (Doc. 223 at PageID ##2657–

  2658.) In fact, Plaintiffs plead, in paragraph 46.1 of their Third Amended Complaint, that “each of

  their state law claims is properly joined herein pursuant to Fed. R. Civ. P. 18 and 20.” The Court’s

  November 18, 2021 and February 17, 2022 Orders have effectively converted the case from an

  FLSA collective action into an action with 276 individual Plaintiffs.

            Moreover, were it not for the striking of OTK’s Answer (and, in particular, its Sixteenth

  Defense—see Doc. 228 at PageID # 2693), Plaintiffs’ state-law claims for the “regular rate” hourly

  pay on minutes “rounded” in weeks in which they worked fewer than 40 hours would be preempted

  by the FLSA. See Bujalski v. Kozy's Rest., Inc., No. 7:13-CV-01446-MHH, 2017 WL 57344, at *5

  (N.D. Ala. Jan. 5, 2017). The Bujalski court noted that because each plaintiff’s claim was

  “premised” on the defendant’s “alleged failure to compensate the plaintiffs for their work at

  Kozy’s—a requirement imposed by the FLSA—the FLSA preempts the plaintiffs’ state law

  claims.” Id. Without the FLSA, there is no requirement that OTK pay Plaintiffs on an hourly basis

  at all, and these Plaintiffs were all well-compensated, bringing in, on average, $78,396.15 per year

  by 2020. (Ex. H, Scheid Decl. ¶ 42.)

            Further, although Plaintiffs plead in paragraph 16.3 of the Third Amended Complaint that

  would “make relief” before the start of shift, they do not plead that they were required to do so,

  and they do not plead factual matter sufficient to allow the Court to conclude that OTK was

  “unjustly enriched” by any “make relief” minutes. (See Doc. 223 at PageID #2644.) Therefore, the

  Court should reconsider its findings that OTK was “unjustly enriched” through “rounding” down

  Plaintiffs’ time to the shift start and end times.




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            C.     Default on liability and striking OTK’s Answer is a draconian sanction that,
                   on this record, exceeds discretion under both the Court’s inherent authority
                   and Rule 37.

            In its November 18, 2021 Order, the Court indicated that it relied on both its inherent

  authority and Rule 37 to sanction OTK. (Doc. 344 at PageID #4654 & n.14.) To be sure, the Court

  has power to impose sanctions under both its inherent authority and its Rules-based power to

  control discovery. That power extends to case- or claim-terminating sanctions, under the

  appropriate circumstances.

            But courts have recognized that “death penalty” sanctions—default, dismissal, and the

  striking of a defendant’s answer—are categorically more severe sanctions than the other sanctions

  a court may order. They are draconian sanctions of last resort. See Chudasama v. Mazda Motor

  Corp., 123 F.3d 1353, 1371–72 (11th Cir. 1997). Such sanctions are heavy punishment,

  appropriate under only extreme circumstances. See, e.g., F.D.I.C. v. Conner, 20 F.3d 1376, 1380

  (5th Cir. 1994); Griffin v. Aluminum Co. of Am., 564 F.2d 1171, 1172 (5th Cir. 1977); Feliciano

  v. City of Miami Beach, No. 10-23139-CIV, 2012 WL 13008756, at *2 (S.D. Fla. Feb. 10, 2012),

  report and recommendation adopted, No. 10-23139-CV, 2012 WL 13008757 (S.D. Fla. Mar. 7,

  2012). In short, it “is the most awesome weapon” in the Court’s arsenal of potential sanctions. See

  Adolph Coors Co. v. Movement Against Racism & the Klan, 777 F.2d 1538, 1543 (11th Cir. 1985).

  And the power to use such an awesome power—to impose such harsh sanctions—has significant

  due-process implications. See Societe Internationale Pour Participations Industrielles Et

  Commerciales, S. A. v. Rogers, 357 U.S. 197, 208–12 (1958).

            Because of those concerns, courts have recognized that case-ending sanctions—default and

  dismissal—are different from other sanctions in at least three ways.

            First, a default sanction requires more than just misconduct; it requires willfulness or bad

  faith. Before a court can impose default as an inherent-authority sanction, it must (complying with


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  the mandates of due process) find the sanctioned party engaged in subjective bad faith. See

  Hernandez v. Acosta Tractors Inc., 898 F.3d 1301, 1306 (11th Cir. 2018). The same is true for

  sanctions under Rule 37. Courts must generally enter an order compelling the discovery before

  entering sanctions, see Thornton v. Hosp. Mgmt. Assocs., Inc., 787 F. App’x 634, 638 (11th Cir.

  2019), and the party must violate that order.

            But, unlike for other sanctions, the violation itself is not enough. The Court must find the

  failure to comply with the order compelling discovery was willful or in bad faith before it can enter

  a default or dismissal. See id. (citing Malautea v. Suzuki Motor Co., 987 F.2d 1536, 1542 (11th

  Cir. 1993)); accord Chudasama, 123 F.3d at 1371 (“Violation of a discovery order caused by

  simple negligence, misunderstanding, or inability to comply will not justify a Rule 37 default....”

  (citing Malautea, 987 F.2d at 1542)); BankAtlantic v. Blythe Eastman Paine Webber, Inc., 12 F.3d

  1045, 1049 (11th Cir. 1994) (“Our caselaw is clear that only in a case where the court imposes the

  most severe sanction—default or dismissal—is a finding of willfulness or bad faith failure to

  comply necessary.”).

            Second, courts cannot impose default as a sanction unless less draconian sanctions would

  be ineffective to ensure compliance and serve the interests of justice. If less severe sanctions would

  be effective, a district court sanctioning with a default judgment abuses its discretion. See

  Chudasama, 123 F.3d at 1371 (reasoning that a court abuses its direction if it enters a default when

  “less draconian but equally effective sanctions were available” (quoting Adolph Coors Co., 777

  F.2d at 1543).)10




            10
            See also Johnson v. New Destiny Christian Ctr. Church, Inc., 771 F. App'x 991, 994
  (11th Cir. 2019); Maus, 513 F. App'x at 878.



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            Third, district courts have less discretion to impose “death penalty” sanctions than they do

  to impose other sanctions. “When, as here, a defendant’s pleadings are stricken, an appellate

  court’s review should be particularly scrupulous lest the district court too lightly resort to this

  extreme sanction, amounting to judgment against the defendant without an opportunity to be heard

  on the merits.” Emerick v. Fenick Indus., Inc., 539 F.2d 1379, 1381 (5th Cir. 1976); accord

  Chudasama, 123 F.3d at 1366. Thus, a district court’s imposition of “death penalty” sanctions does

  not receive the same deference on appellate review that other sanctions might.

            Here, the imposition of “death penalty” sanctions is particularly harsh. For starters, the

  sanctions result in the imposition of significant liability on OTK that—due to the loss of the ability

  to defend against the “willfulness” allegations and the loss of its set-off defense—for which OTK

  might not be liable if the case were adjudicated on its merits. Given the scope of potential damages

  in this case, that is a “heavy punishment” indeed.

            Nor does OTK’s punishment necessarily stop at the end of this particular case. As the Court

  notes in its November 18, 2021 Order, the liability issues in the case deal with pay practices that

  remain in place. (See Doc. 344 at PageID ## 4649, 4714–4715.) A significant judgment in this

  case will almost certainly lead to copycat litigation—other OTK employees filing other FLSA

  putative collective actions. OTK expects that plaintiffs in those cases will argue that the default in

  this case could have a preclusive effect on issues to be decided in those future cases. Without

  conceding that preclusion would be proper in those cases, OTK notes the risk that the severe and

  harsh sanctions the Court has imposed here may extend beyond this case—continuing to punish

  OTK in other litigation in which OTK has done nothing wrong.




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            For the reasons that follow, the imposition of such harsh sanctions was unwarranted.

  Further, lesser sanctions would have been sufficient to remedy the effect of the misconduct here.

  For those reasons, the Court should reconsider its previous sanctions Order.

                   1.      There was no “boon” to OTK on this record.

            In explaining why sanctions are appropriate here, the Court says: “At every turn, Defendant

  delayed, obfuscated, violated or outright ignored the Court’s orders …. Throughout, the alleged

  violative pay practice continue, a potential boon to Defendant.” (Doc. 344 at PageID #4649.) But

  Plaintiffs have shown no “boon.” Plaintiffs have not proven that any of OTK’s pay practices

  resulted in the underpayment of any overtime due to them under the FLSA.

                   2.      “Death penalty” sanctions were inappropriate under Rule 37.

                           a.     A review of the communications history demonstrates that any
                                  failure by OTK (as distinguished from Littler) to comply with
                                  the Court’s Orders was because Littler did not adequately
                                  communicate with OTK.

            The Court entered “death penalty” sanctions against OTK largely because Littler

  represented to the Court that (1) OTK had never produced time and pay records to Plaintiffs in

  discovery and (2) ADP had wholly failed to respond to the OTK subpoena. A review of the

  communications in this matter show that neither of Littler’s representations was accurate.

            Instead, those communications show that OTK produced pay records (albeit in a less-

  desirable format) to Littler back in 2019. (Ex. G, Pledger Decl. ¶¶ 6-11.) After Plaintiffs informed

  Littler that they preferred the format of ADP’s reports, Littler apparently failed to produce to the

  Plaintiffs the pay records that OTK had provided or else Plaintiffs’ counsel rejected those ADP

  documents. (See Doc. 300-1 at PageID #3807 (ADP’s witness declaration that “On August 5, 2020,

  I sent the Littler Mendelson attorneys the Payroll Register reports from June 2020.”).) OTK does

  not know what happened here or why Littler did what it did. But OTK does know it was not a part



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  of the decision. OTK wanted to be forthcoming with information to Plaintiffs. Accordingly, it

  provided Littler with the requested information and pay records in the format OTK was capable of

  providing before Plaintiffs filed any motions to compel or for sanctions. (See Ex. G, Pledger Decl.

  ¶¶ 6-11.)

            A review of the communications also show that, in the middle of 2020, Littler and Plaintiffs

  reached an impasse as to efforts to modify and reformat the pay record documentation. After a

  hearing on the issue, the Magistrate Judge declined to sanction OTK and suggested it subpoena

  the information from ADP. (See Doc. 229.)

            As early as July 2020, ADP commented to Melissa Pledger, OTK’s payroll specialist, that

  the gathering of the information was a priority for ADP’s legal team. (Ex. G, Pledger Decl. ¶ 23.)

  OTK continued to try to work with ADP to obtain the information. OTK’s personnel went on to

  e-mails with Littler and its ADP to facilitate the cumulative production to the Plaintiffs. (Id.,

  Pledger Decl. ¶¶ 24-33.) OTK personnel also participated in hours of meetings to understand and

  communicate the Plaintiffs’ preferences to ADP. In the end, ADP took the position that OTK could

  generate the reports itself through its portal access to ADP’s system. (See Doc. 300-1 at PageID

  #3807 (ADP’s witness declaration that, on August 3, 2020, “I further explained that the payroll

  contact for Defendant should be able to create the requested report in Excel format ….”).) But

  even with the help of Sid Johnson at ADP, OTK could not figure out how to produce Excel

  spreadsheets that would feature the information the Plaintiffs wanted. Here is what happened:

           On August 31, 2020, Pledger exchanged her last communication with Johnson requesting
            information responsive to the subpoena. Johnson commented that he would no longer be
            able to assist in transferring a .pdf to Excel in the system until after he had consulted with
            ADP legal. (Ex. G, Pledger Decl. ¶ 32.)

           ADP and OTK met in November 2020 to discuss these issues and how to generate Excel
            reports that included the RROP information. Again, ADP informed OTK that the




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            information the Plaintiffs sought could not be produced in Excel. (Id., Pledger Decl. ¶¶ 34-
            35.)

           In December 2020 and January 2021, Littler attorney Gavin Appleby was not actively
            participating in the litigation due to a major medical issue under doctors’ orders. (Ex. G,
            Scheid Decl. ¶ 50.)

  In fact, Appleby did not meaningfully participate in the case again until a hearing on February 17,

  2021, in which his co-counsel Sinead Daly misrepresented to the Court that ADP had not

  responded to the subpoena. Daly explained:

            We did reach out following -- due to the telephone conference with Your Honor
            and we advised ADP that there was a case out there that indicated that ADP --
            [disrupted audio connection] -- records in an excel format. And we asked them to
            readdress the issue of whether or not that is something that can be done in our case
            given that there is caselaw out there that suggests it, and we have not gotten a
            response yet. But we did raise that point, Your Honor.

  (See Doc. 299 at PageID ## 3701-3702.) Based on this statement, the Court scheduled two

  separate show-cause hearings.

            On March 5, 2021, after the first “show cause” hearing related to the ADP subpoena, Littler

  finally informed OTK personnel (including Scheid) that the Court was curious about ADP’s

  participation. Littler informed Scheid that the Court “finally got ADP’s attention,” again inferring

  that this production was ADP’s responsibility and any failures were ADP’s failures. (Ex. H, Scheid

  Decl. ¶ 30.)

            Littler sent another e-mail to OTK stating “the Court is suddenly focused on ADP issues”

  requiring “ADP provide someone live even if they have to come from HQ in New Jersey. I’m

  curious as to whether you have a formal contract with ADP and whether that contract has any

  indemnification clauses.” (Id., Scheid Decl. ¶ 31.) Even this communication insinuates that ADP

  was the subject of judicial scrutiny because of ADP’s production deficiencies.

            Appleby sent another e-mail on March 8, 2021, striking a different but still less-than-

  ominous tone. He wrote: “[b]ased on my call today, we have a decent chance of getting ADP to


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  explain to the court what they can and can’t do and that should help. Otherwise, the judge might

  hit us or ADP with some type of penalty. It wouldn’t be justified....” (Id., Scheid Decl. ¶ 32.)

            Thus, until March 8, 2021, OTK was completely unaware that its production was

  unsatisfactory to the Plaintiffs or the Court. Instead, OTK understood any production problems to

  be ADP’s problems. It is not readily apparent that Littler understood the precariousness of the issue

  going into the hearing. But, regardless, Littler had insulated OTK purposefully. Littler exclusively

  mediated the triangular communications between Plaintiffs, ADP, and OTK on the issue. As a

  result, OTK was “in the dark.”

            At the second show-cause hearing on March 12, 2021, ADP informed the Court that it

  would produce to the Plaintiffs records that Littler (and OTK) had believed ADP could not

  produce. From there, Plaintiffs and ADP accused Littler (justifiably) of violating the conflict of

  interest rule and making misrepresentations to the Court about ADP’s activities. The Court

  concluded Littler had made misrepresentations, and the hearing became about Littler’s conduct

  and not much more.

                          b.     OTK was not knowingly in violation of Court-ordered discovery
                                 obligation during the March 12, 2021 or April 13, 2021 hearings.

            The Court should not have issued “death penalty” sanctions under the discovery rules.

  Although Rule 37(b)(2)(C) authorizes courts to impose draconian “death penalty” sanctions,

  “death penalty” sanctions are highly disfavored and require violation of a discovery order. See

  Malautea, 987 F.2d at 1542; Kipperman v. Onex Corp., 260 F.R.D. 682, 698 (N.D. Ga. 2009) (“A

  sanction of dismissal or default judgment requires a willful or bad faith failure to obey a discovery

  order.”) see also Relation to Other Rules and Statutes, 8B Fed. Prac. & Proc., Civ. § 2282 (3d ed.)

  ("When the discovery procedure is initially set in motion by the parties themselves without court

  order, the party seeking discovery must first obtain an order under Rule 37(a) requiring the



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  recalcitrant party or witness to make the discovery sought; it is only a violation of this order that

  is punishable under Rule 37(b)."); id. at § 2289 (“Rule 37(b) usually has no application if there has

  not been a court order.”).

            Although OTK has admittedly been the subject of this Court’s Orders to produce

  documents, including pay records, the record now reflects its reasonable belief it had complied

  with those Orders or else was unable to comply.11 It produced pay records in 2019, long before the

  close of discovery or the March 21, 2021 hearing. (Ex. G, Pledger Decl. ¶¶ 6-11.) The ADP issue

  resulted from pay records and information not being in the format the Plaintiffs wanted, not from

  an outright failure to produce the information.

            The Court’s frustration understandably boiled over at the show-cause hearing on March

  12, 2021, but OTK understood (because of Littler) that that “show cause” was directed against

  ADP, not OTK. (Ex. G, Scheid Decl. ¶ 30.) Had OTK known that, because of Littler’s conduct,

  OTK could have been subject to “death penalty” sanctions and the loss of its ability to defend

  Plaintiffs’ claims on the merits, OTK would have conducted itself, prepared for, and participated

  in the hearing quite differently.

            “Death penalty” sanctions require bad faith conduct in violation of a court order to avoid

  the unlawfully punitive scenario of a court taking away litigant’s substantive rights when that

  litigant did not engage in intentional misconduct. Thus, “[v]iolation of a discovery order caused




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              OTK does not dispute that Littler represented that OTK would produce certain pay
  records in Excel format. The record establishes, however, that this turned out to be an impossible
  for OTK to do (or at least that OTK in good faith believed it was impossible). Rule 37 does not
  authorize “death penalty” sanctions when “failure to comply [with a discovery order] has been due
  to inability, and not to willfulness, bad faith, or any fault of petitioner.” Societe Internationale, 357
  U.S. at 212. Thus, OTK’s failure to provide Excel spread sheets does not warrant the sanctions the
  Court imposed.



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  by simple negligence, misunderstanding, or inability to comply will not justify a Rule 37 default

  judgment or dismissal.” Malautea, 987 F.2d at 1542.

            The decision in Malautea is a good example of when case-terminating sanctions against a

  client for the actions of an attorney may be appropriate. There, the “Suzuki Defendants” were

  subject to multiple, specific court orders mandating they produce specific documents related to

  General Motors’ “testing, design, and marketing” of a vehicle. Id. at 1539–1540. The Suzuki

  Defendants in Malautea represented to the Court that responsive documents did not exist, and

  wholly failed to produce the information. After it was ordered to do so, General Motors produced

  correspondence showing that it had refused to market the Suzuki Defendants’ vehicle after its tests

  that showed the vehicle was prone to rollover. The district court determined that the Suzuki

  Defendants and their counsel possessed and knew of these correspondences, but willfully withheld

  them from the plaintiffs because the documents were damaging to their position in the litigation.

  On appeal, the Suzuki Defendants argued that they misunderstood the scope of the district court’s

  orders. The Eleventh Circuit noted that the Suzuki Defendants’ claims of confusion and

  misunderstanding related to the court orders was not credible. The Eleventh Circuit pointed out

  that neither defendant in Malauteau had asked the district court judge to clarify those orders and

  added that a genuinely confused litigant, twice-threatened with the sanction of a default judgment,

  would have asked the district judge to explain whether the orders covered the plaintiff’s

  interrogatory that requested the General Motors information. Id. at 1543.

            This Malauteu decision touches on the due process considerations against a litigant facing

  litigation-terminating sanctions. Contrast the Malautea conduct to hide and withhold unfavorable

  documents to OTK’s conduct here. Here, OTK was held at arms-length by Littler, to the point it

  did not know that questions needed to be asked of the Court at all. There was no order specifying




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  the production of the “RROP” information in an Excel format. OTK had met with ADP and was

  told the information could not be produced in the Excel format Plaintiffs said they required. (Ex.

  G, Pledger Decl. ¶ 34.) OTK had been led by Littler to believe the show-cause hearing that led to

  its sanction was primarily a “show cause” against ADP. (Ex. G, Scheid Decl. ¶ 30.) OTK was

  never counseled by Littler regarding the true nature of this hearing, and in fact was affirmatively

  led to believe OTK was a non-participant. OTK had no way of knowing that the Court had any

  issue with its production.

            OTK’s scenario is precisely why the line of cases differentiating sanctionable lawyer

  conduct from their unwitting client exists. OTK was led honestly and reasonably believe it had

  long satisfied the Court’s requirements and that fault in the eyes of the Court lied with ADP. With

  no order specifying conduct of OTK, this Court was without the authority to sanction OTK under

  Rule 37.

            Stated differently, negligence, misunderstanding, and/or inability to comply are exactly

  what happened here. Indeed, the conduct the Court focuses on as sanctionable was the conduct of

  Littler, not OTK. None of it was deliberate conduct by OTK that violated clear directives in a court

  order. And OTK should not pay the price for Littler’s unilateral misconduct. See Cmty. Dental

  Servs. v. Tani, 282 F.3d 1164, 1168-69 (9th Cir. 2002) (collecting authorities); Pearce v. Apfel,

  205 F.3d 1341, 2000 WL 191841, at *3 (6th Cir. 2000) (table) (stating the court “has been

  extremely reluctant to uphold the dismissal of a case ... merely to discipline an errant attorney

  because such a sanction deprives the client of his day in court.”); M.E.N. Co. v. Control Fluidics,

  Inc., 834 F.2d 869, 873 (10th Cir. 1987) (“Where sanctions are concerned, ... we have cautioned




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  that ‘[i]f the fault lies with the attorneys, that is where the impact of the sanction should be

  lodged.’” (citation omitted)).12

            The Eleventh Circuit’s decision in Byrne v. Nezhat, 261 F.3d 1075, 1123 (11th Cir. 2001),

  is similarly instructive. There, a district court dismissed a lawsuit as a sanction because the counsel

  intentionally filed a frivolous claim. The Eleventh Circuit held the district court’s sanctions award

  was an abuse of discretion because the client was unaware of the counsel’s misconduct—the client

  was in the dark. See id. The Court reasoned: “[t]o support its findings of bad faith and otherwise

  sanctionable conduct, the court impermissibly relied solely on the actions of counsel….

  Sanctionable conduct by a party's counsel does not necessarily parlay into sanctionable conduct

  by a party. Id. The attorney-client relationship is not like other principal-agent relationships, in

  that “most clients are not able to exercise perfect control over their lawyers.” Hutchinson v. Fla.,

  677 F.3d 1097, 1109 (11th Cir. 2012) (Barkett, J., concurring). Thus, it is generally not appropriate

  to sanction a party for their counsel’s offenses. Donaldson v. Clark, 819 F.2d 1551, 1557 n.6 (11th

  Cir. 1987).




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             Other courts have held likewise. See Carter v. Albert Einstein Med. Ctr., 804 F.2d 805,
  806 (3d Cir. 1986) (reversing denial of plaintiff's R. 60(b) motion based on plaintiff's counsel's
  “blatant disregard for explicit [court] orders”); Shepard Claims Serv., Inc. v. William Darrah &
  Assocs., 796 F.2d 190, 195 (6th Cir. 1986)(“[a] default judgment deprives the client of his day in
  court, and should not be used as a vehicle for disciplining attorneys); Carter v. City of Memphis,
  Tenn., 636 F.2d 159, 161 (6th Cir. 1980)(“[D]ismissal is usually inappropriate where the neglect
  is solely the fault of the attorney.”); Dove v. CODESCO, 569 F.2d 807, 810 (4th Cir. 1978) (“[T]he
  sanctions for attorney neglect should be borne if at all possible by the attorney himself rather than
  by his client.”); L. P. Steuart, Inc. v. Matthews, 329 F.2d 234, 235 (D.C. Cir. 1964) (stating that
  Rule 60(b)(6) “is broad enough to permit relief when as in this case personal problems of counsel
  cause him grossly to neglect a diligent client's case and mislead the client”); Primbs v. United
  States, 4 Cl. Ct. 366, 370 (1984), aff'd, 765 F.2d 159 (Fed. Cir. 1985) (holding that normal attorney-
  client relationship does not bar Rule 60(b) relief when “the evidence is clear that the attorney and
  his client were not acting as one”).



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            Here, Littler kept OTK “in the dark,” leaving OTK unable to fully control Littler’s conduct.

  Under these circumstances, the Court imposed “death penalty” sanctions on OTK for its counsel’s

  conduct or, at most and at worst, for violating the Court’s Orders out of negligence,

  misunderstanding, or because of a perceived inability to comply. Doing so exceeded the Court’s

  discretion.

                     3.     The Court should not justify “death penalty” sanctions under its
                            inherent authority by imputing to OTK the apparent bad faith actions
                            by Littler.

            Nor was there a basis for “death penalty” sanctions under the Court’s inherent authority.

  Courts exercise their inherent powers “with restraint and discretion.” Amlong & Amlong, P.A. v.

  Denny’s, Inc., 500 F.3d 1230, 1251 (11th Cir. 2007). Inherent-power sanctions require a ﬁnding of

  subjective bad faith, with a narrow exception for conduct from which the court can determine the

  actors’ bad faith. Hyde v. Irish, 962 F.3d 1306, 1310 (11th Cir. 2020); see also Barnes v. Dalton,

  158 F.3d 1212, 1214 (11th Cir. 1998) (“        e key to unlocking a court’s inherent power is a ﬁnding

  of bad faith.”). A court may ﬁnd attorney bad faith from an attorney’s knowing or reckless assertion

  of a frivolous argument or of a meritorious argument for improper purpose. Barnes, 158 F.3d at

  1214. But to ﬁnd that a party acted in bad faith, a court must determine that the party delayed or

  disrupted litigation or hampered enforcement of the court’s orders. Id. (citing Primus Auto. Fin.

  Servs., Inc. v. Batarse, 115 F.3d 644, 649 (9th Cir. 1997)).

                e Court found several facts supporting its holding that OTK acted in bad faith.   e Court

  noted that under agency principles, OTK is liable for its attorneys’ actions. (Doc. 344 at PageID

  #4708 (quoting Link v. Wabash R. Co., 370 U.S. 626, 633–34 (1962))). But Littler did not have

  either express or implied authority to misrepresent facts to the Court. To the contrary, Littler had a

  duty of candor to the Court. See Ala. R. Prof. Cond. 3.3(a) (setting forth duty of candor to a

  tribunal). And nothing suggests OTK authorized, ratiﬁed, or even knew of Littler’s actions. See


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  GDG Acquisitions LLC v. Gov't of Belize, 849 F.3d 1299, 1309 (11th Cir. 2017) (noting that

  ratiﬁcation can occur through manifesting assent or by conduct justiﬁable only by a reasonable

  assumption of consent). Instead, when OTK discovered the extent and nature of Littler’s

  malfeasance now identiﬁed by the Court, it terminated its longstanding relationship with Littler.

                          a.      OTK was unaware of Littler’s multiple errors, omissions, and
                                  apparent falsehoods related to procuring documents from ADP.

            Most of the discovery disputes leading to the Court’s imposition of sanctions arise from

  OTK’s failure to produce documents showing how it calculated “true up” payments from “step

  up” rates. At various times, Littler told the Court that it needed assistance from ADP to produce

  these documents in Excel format; it had contacted ADP to procure these documents without

  response; ADP had not responded to a subpoena seeking these documents; and the Plaintiﬀs did

  not need those documents because certain testimony by OTK’s corporate representative was

  mistaken. (See Doc. 344 at PageID ##4687, 4692–4696.) Meanwhile, Littler did not promptly

  serve the Court’s show-cause Order on ADP as the Court ordered. Littler further misinformed ADP

  about the need to appear for a show-cause hearing if it produced documents, all in an apparent

  eﬀort to keep ADP from telling the Court about Littler’s malfeasance. (Id. at PageID #4693–4694.)

            As the Court noted, Littler and OTK had a longstanding relationship.      at longstanding

  relationship ended when OTK learned of Littler’s actions. OTK trusted Littler to handle high-

  dollar employment disputes. Unfortunately, OTK misplaced that trust.      roughout this case, Littler

  abused OTK’s trust to conceal its own lack of diligence in defending OTK against the Plaintiﬀs’

  allegations.

            For example, the Court took OTK to task for Littler’s representation that it had “reached

  out” to ADP for records with no response. (Id. at PageID #4692.) Littler made this representation

  during a status conference twelve days after the Court had ordered OTK to produce those records.



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  (Id.) What Littler failed to disclose to the Court—in apparent violation of its duty of candor—was

  that it “reached out” a mere three hours before the hearing. (Id.) But OTK did not know that Littler

  was so dilatory; OTK assumed that Littler was representing OTK’s interests.

            Similarly, Littler told the Court that the Plaintiﬀs no longer needed the records at issue

  because Ms. Pledger’s testimony about the “true up” process was mistaken. (Doc. 344 at PageID

  #4693.)       at representation as to Pledger’s mistake was correct. She based her testimony on a

  misremembered conversation with an ADP representative. (Ex. G, Pledger Decl. ¶¶ 13-14.) But

  what Littler did not inform the Court at that time Littler also served as ADP’s counsel. Worse,

  although Littler told the Court it would procure an aﬃdavit and examples explaining the error, it

  failed to do so. (Doc. 344 at PageID #4693.) Ms. Pledger’s declaration attached to this Motion

  ﬁxes that issue. (See Ex. G, Pledger Decl. ¶ 15.)

            Most troubling was Littler’s conduct related to OTK’s subpoena to ADP. Littler at least

  strongly implied that ADP had not cooperated with a subpoena, which was untrue. (Doc. 344 at

  PageID ##4690–4691.) After ADP produced .pdf versions of the needed documents, Littler did not

  tell ADP that OTK needed Excel versions until the day of a scheduled status hearing. (Id.at PageID

  # 4692.) And, when the Court ordered ADP to appear at a show-cause hearing, Littler waited ten

  days to serve ADP—until four days before ADP would have to appear. (Id. at PageID #4693–

  4694.) Even when Littler ﬁnally served ADP, it falsely told ADP that the hearing would likely be

  cancelled if ADP produced the missing documents. (Id. at PageID #4694.)           en, after ADP did

  produce documents in the requested format, Littler ﬁnally—at 5:40 pm—told it that it would need

  to be present for a show-cause hearing the next day. (Id.) Yet again, this was Littler’s conduct.

  OTK had no idea Littler had acted in such an improper manner.




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            Nothing excuses a pattern of falsehoods. But OTK did not speak or know about Littler’s

  false statements. OTK did not mislead ADP. And OTK did not instruct Littler to lie to the Court.

  OTK, like many corporate clients, trusted its Littler attorneys to perform their ethical duties and

  defend OTK in litigation.       at Littler failed to do so shows that OTK’s faith was misplaced, not

  bad. And misplaced faith will not support the Court’s imposition of “death penalty” sanctions.

                            b.     Littler accurately characterized the need for ADP’s help in
                                   producing documents in Excel format.

                e Court took OTK to task for failing to provide certain records showing “true up”

  adjustments for step-rates in Excel. (Doc. 344 at PageID #4648–4649.) It then found that Littler’s

  representation that it needed ADP’s help to produce these records in a non-native, Excel format

  was false and used this as evidence of OTK’s bad faith. Littler may have been less than honest

  about many things, but that representation was accurate. OTK could not produce those records in

  Excel format. (Ex. G, Pledger Decl. ¶ 38.)

            What, of course, does not excuse counsel’s dilatory eﬀorts to get these documents from

  ADP or its failure to correct Ms. Pledger’s mistaken testimony to obviate the need for them. But

  that failure and lack of eﬀort were not OTK’s. OTK was unaware that Littler had failed to confer

  with ADP about getting the documents in Excel format. OTK was unaware that Littler had failed

  to produce what documents ADP had produced. OTK was unaware that Littler went to this Court

  intending to cloak its own lack of diligence. Had OTK been aware of what was really going on, it

  would have terminated its relationship with Littler long before these issues came to a head.

                            c.     Littler’s failure to pursue discovery needed to respond to
                                   summary judgment was prejudicial to OTK’s interests.

                e Court criticized OTK for seeking relief under Federal Rule of Civil Procedure 56(d),

  but failing to pursue the discovery it needed to oppose summary judgment. (Doc. 344 at PageID

  #4689). But that failure is more evidence of Littler’s inappropriate behavior and bad faith, not


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  OTK’s. As the Court pointed out, OTK had a longstanding relationship with Littler. It trusted

  Littler to represent it zealously and to defend its interests. It is hard to imagine anything less

  compatible with OTK’s interests than failing to seek discovery in order to fend oﬀ summary

  judgment in a case with massive potential liability.         at alone should give the Court pause in

  imputing Littler’s delay to OTK, which had nothing to gain from Littler not seeking evidence that

  could eliminate or mitigate liability.

            But the Court does not have to rely on logic alone to determine that Littler’s failure to

  pursue other discovery was not bad faith on OTK’s part. OTK did not know that Littler was not

  pursuing needed discovery. Once again, had OTK been aware that Littler had only staved oﬀ

  summary judgment temporarily by asserting a need for discovery that it then failed to pursue, OTK

  would have terminated its relationship with Littler sooner.

            Attorneys must be fair and honest in their dealings with the Court, their clients, and adverse

  parties. See Ala. R. Prof. Cond. 1.1 (duty of competence in representation); 1.3 (duty of diligence

  in representation); 3.3 (duty of candor to tribunal); 3.4 (duty of fairness to opposing counsel and

  parties); 4.1 (duty of truthfulness to third parties). Clients, no matter how sophisticated, should be

  able to trust that their attorneys are representing their clients’ interests, not their own. And it is not

  bad faith for OTK to do just that. Rather, it seems Littler did a disservice not only to the swift and

  accurate dispensation of justice, but also to its own client’s interests.           e Court should not

  compound that disservice by sanctioning OTK for Littler’s acts.

                   4.      Lesser sanctions would have been sufficient.

            A district court exceeds its discretion when it imposes “death penalty” sanctions even

  though lesser sanctions would be sufficient. See Chudasama, 123 F.3d at 1371. Not only do the

  circumstances of this case not warrant the imposition of such sanctions, but lesser sanctions would

  have been sufficient to remedy the harm the Court identified in its order. Therefore, the Court


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  exceeded its discretion by imposing “death penalty” sanctions, and it should vacate its Orders

  imposing those sanctions.

            Sanctions under Rule 37 have four purposes: (1) compensating the Court and parties for

  added expenses; (2) gaining compliance with discovery obligations; (3) deterring non-compliance

  by others; and (4) punishing the offending party or attorney. Thornton v. Hosp. Mgmt. Assocs.,

  Inc., 787 F. App’x 634, 638 (11th Cir. 2019) (citing Wouters v. Martin Cty., Fla., 9 F.3d 924, 933

  (11th Cir. 1993). Lesser sanctions than default would have been sufficient to achieve those four

  purposes.

            First (and fourth), the Court has already required OTK to pay attorney’s fees related to

  the discovery disputes. (Doc. 344 at PageID #4717; Doc. 345.) OTK (or Littler) could likewise

  remedy any additional expenses the Court has incurred through a monetary sanction. The FLSA

  allwos liquidation (doubling) of damages in place of prejudgment interest, and allows damages to

  go back three years in case of “willful” violations. Further, there is no indication that the delay has

  permanently prejudiced the Plaintiffs’ ability to prepare their case, such as due to the loss of

  documents or other evidence. Thus, death penalty sanctions are not necessary to compensate the

  Court or the Plaintiffs for delay.

            Second, there is the need to gain compliance with the Court’s numerous Orders. This is

  the only area in which the Court held that lesser sanctions would be insufficient. It reasoned that

  lesser sanctions would be insufficient because they “would be ineffective in compelling [OTK] to

  comply with their discovery obligations.” (Doc. 344 at PageID # 4712.) With respect, the record

  fails to bear that out.

            Instead, the record demonstrates that the Court rooted out the source of the problem by

  suspending the pro hac vice admission of the lead counsel from Littler on March 13, 2021 (Doc.




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  303 at PageID # 3937), eventually leading OTK to replace Littler as counsel (Docs. 319 & 323).

  Indeed, every single incident the Court listed in its order as evidence of bad faith—spanning from

  September 4, 2018 to March 12, 2021—occurred before the disqualification of the Littler lawyer

  and Littler’s replacement as counsel. (Compare Docs. 303, 319, & 323 with Doc. 344 at PageID

  ## 4659–4698.) Since current counsel replaced Littler and OTK became fully aware of the nature

  and extent of Littler’s misconduct, OTK has provided Plaintiffs’ counsel with documents he has

  requested relating to the discovery previously served in this case, and Plaintiffs’ counsel now has

  complete pay information for all of his clients through the end of 2021.

            The Court’s November 18, 2021 Order says: “Defendant might possess time and pay

  records from 2015–2017, which ADP no longer retains; … however, the Plaintiffs were fairly

  certain the records Defendant was proposing to produce would be inaccurate and incomplete

  because they would not contain all of the ‘step up’ rates. The Court agrees and notes this is why

  ADP’s records were needed in the first place.” (Doc. 344 at PageID #4706.) But that is no longer

  an issue. As Plaintiffs explained to the Court on February 25, 2022, “Plaintiffs sent current defense

  counsel the pay rate information (including step-up rates and estimated step-up rates) culled from

  OTK’s data and form ADP’s data ….” (Doc. 362 at PageID #5594.) OTK has never objected to

  the so-called “estimated” step-up rates. Instead, OTK has pointed out that, out of the first 30

  Plaintiffs, only seven of them ever worked “step ups.” (Doc. 363 at PageID #5632.) The “step ups”

  are not the issue.

            Third, although the Court notes the need to deter other employers from refusing to comply

  with their discovery obligations in other cases, it never holds that lesser sanctions would not also

  achieve that goal. Nor, as to the fourth factor, does the Court hold that lesser sanctions would be

  insufficient to punish OTK or Littler. Both Rule 37 and the Court’s inherent power provide it with




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  a panoply of sanctions to deter and punish misconduct. Another employer seeing the

  disqualification of counsel and the significant monetary sanction the Court has already imposed

  on OTK—perhaps coupled with additional monetary sanctions and the potential striking of

  affirmative defenses—is unlikely to allow its counsel to repeat the conduct that occurred here. And

  any such combination of sanctions would sufficiently punish OTK for its choice of Littler as

  counsel and would vindicate the Court’s authority to ensure the efficient administration of justice

  to Plaintiffs in this case and other plaintiffs in other cases.

            In sum, it is unnecessary to impose “death penalty” sanctions against OTK to achieve its

  compliance with the Court’s order, to compensate the Plaintiffs’ and the Court for any delay, to

  deter misconduct by employers in other cases, or to sufficiently punish OTK for its actions (or

  perhaps more accurately, its inaction through selection of Littler as its counsel). Lesser sanctions

  can achieve, and already have achieved, those goals. Because lesser sanctions are sufficient, the

  Court’s entry of default and striking of OTK’s Answer to the Third Amended Complaint exceed

  the Court’s discretion.

                                              IV. Conclusion

            For these reasons, OTK requests that the Court vacate its previous Order sanctioning OTK

  by striking its answer and entering a default.

                                                           Respectfully submitted,

                                                           s/ Devin C. Dolive________________
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                                   CERTIFICATE OF SERVICE

        I do hereby certify that I have on March 10, 2022, electronically filed the foregoing
  document using the Court’s CM/ECF system, which will send electronic notice to the following:

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